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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0488CCC
 1) JOSE BABILONIA-TORRES
 2) IRVING MELECIO-RAMIREZ
 3) XAVIER MELECIO-RAMIREZ
 4) VICTOR REAL-ALOMAR
 5) JOSE GONZALEZ-BERNARD
 6) FELIX A. HERNANDEZ-BURGOS
 7) ALEXIS HERNANDEZ-BURGOS
 8) PABLO ECHEVARRIA-RODRIGUEZ
 9) JOSE ACEVEDO-VELEZ
 10) BRIAN OSORIO-PADILLA
 11) ORLANDO FELIX-NEGRON
 12) NELSON ALONSO-GALARZA
 13) PEDRO HERNANDEZ-SOSA
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on July 24, 2013 (docket
entry 368) on a Rule 11 proceeding of defendant Brian Osorio-Padilla (10) held before
U.S. Magistrate Judge Silvia Carreño-Coll on July 12, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since July 12, 2013. The sentencing hearing is set for October 23,
2013 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on August 14, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
